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 United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number ~rfk~ow~~                                                      Chapter     11

                                                                                                                        ❑ Check if this an
                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Purdue Pharma L.P.


2.   All other names debtor
     used in the last 8 years
     I nclude any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     N umber (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  One Stamford Forum
                                  201 Tresser Boulevard
                                  Stamford, CT 06901
                                  Number, Street, City, State &ZIP Code                        P.O. Box, Number, Street, City, State &ZIP Code

                                  Fairfield                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State &ZIP Code


5.   Debtor's website(URL)        www.purduepharma.com


6.   Type of debtor               ❑ Corporation (including Limited Liability Company (LLC)and Limited Liability Partnership (LLP))

                                  ■ Partnership (excluding LLP)

                                  ❑ Other. Specify:




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Debtor    Purdue Phartna L.P.                                                                          Case number (il known)



7.   Describe debtor's business        A. Check one:
                                       ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                       ❑ Single Asset Reai Estate(as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑ Stockbroker(as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker(as defined in 11 U.S.C. § 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■ None of the above

                                       B. Check all that apply
                                       ❑ Tax-exempt entity(as described in 26 U.S.C. §501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http://www.uscourts.pov/four-digit-national-association-naics-codes.
                                               3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            ~ Chapter 7
     debtor £ling?
                                       ❑ Chapter 9

                                       ■ Chapter 11. Check all that apply'
                                                            D    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625(amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                            D    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(6).
                                                            ❑    A plan is being filed with this petition.
                                                            ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C.§ 1126(b).
                                                            ❑    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       ❑ Chapter 12



9.   Were prior bankruptcy             ■ No.
     cases filed by or against
     the debtor within the last 8      ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                              Case number
                                                District                                  When                              Case number


10. Are any bankruptcy cases           ❑ No
    pending or being filed by a
    business partner or an             ■Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor     See Attached Schedule 1                                         Relationship            Affiliate

                                                           Southern District of
                                                District   New York                       When                             Case number, if known




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Debtor    Purdue Pharma L.P.                                                                     Case number (if known)



11. Why is the case filed in    Check all that apply:
    this disfrict?
                                ❑      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                ■      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or      ~ Na
    have possession of any
    real property or personal              Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                ❑Yes.
    property that needs
    immediate attention?                  Why does the property need immediate attention?(Check all that apply.)

                                           ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?

                                           ❑ It needs to be physically secured or protected from the weather.

                                           ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                            livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                           ❑ Other
                                          Where is the property?
                                                                            Number, Street, City, State &ZIP Code
                                          Is the property insured?
                                          ❑ No
                                          ❑ Yes. Insurance agency
                                                     Contact name
                                                     Phone


_ Statistical and administrative information

73. Debtor's estimation of              Check one:
    available funds
                                        ■ Funds will be available for distribution to unsecured creditors.
                                        ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         ❑ ~_qg                                          ■ 1,000-5,000                              ❑ 25,001-50,000
    creditors                   ❑ 50-99                                                                                    ❑ 50,001-100,000
                                                                                ❑ 5001-10,000
                                ❑ 100-199                                       ❑ 10,001-25,000                            ❑Morethan100,000
                                ❑ 200-999

15. Estimated Assets            ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ■ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion

16. Estimated liabilities       ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ■ $500,000,001 - $1 billion
                                ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion




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Debtor    Purdue Pharma L.P.                                                                      Case number (if known)



_ Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   have been authorized to file this petition on behalf of the debtor.

                                   have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 15, 2019
                                                 M M / DD / YWY


                             X                 `~                                                        Jon Lowne
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Authorized Person




                                                                                                          Date September 15, 2019
18. Signature of attorney    X ~~'
                               Signature of attorney for debtor                                                IJiI~Il~7~7~~~~i

                                 Marshall S. Huebner
                                 Printed name

                                 Davis Polk &Wardwell LLP
                                 Firm name

                                 450 Lexington Avenue
                                 New York, NY 10017
                                 Number, Street, City, State &ZIP Code


                                 Contact phone      212-450-4000                 Email address      Purdue.noticing~dpw.com


                                 2607094 NY
                                 Bar number and




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                                  SCHEDULE 1 TO PETITION

               Pending Bankruptcy Cases in the Southern District of New York
                       Filed by the Debtor and Affiliates of the Debtor



        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the Southern District of New York (the
"Court"). A motion has been filed with the Court requesting that the chapter 11 cases of these
entities be consolidated for procedural purposes only and jointly administered under the case
number assigned to the chapter 11 case of Purdue Pharma L.P.

           1. Purdue Pharma L.P.
           2. Purdue Pharma Inc.
           3. Purdue Transdermal Technologies L.P.
           4. Purdue Pharma Manufacturing L.P.
           5. Purdue Pharmaceuticals L.P.
           6. Imbrium Therapeutics L.P.
           7. Adlon Therapeutics L.P.
           8. Greenfield BioVentures L.P.
           9. Seven Seas Hill Corp.
           10. Ophir Green Corp.
           1 1. Purdue Pharma of Puerto Rico
           1 2. Avrio Health L.P.
           1 3. Purdue Pharmaceutical Products L.P.
           14. Purdue Neuroscience Company
           l 5. Nayatt Cove Lifescience Inc.
           16. Button Land L.P.
           1 7. Paul Land Inc.
           18. Quidnick Land L.P.
           19. Rhodes Associates L.P.
           20. Rhodes Pharmaceuticals L.P.
           2l.Rhodes Technologies
           22. UDF LP
           23. SVC Pharma LP
           24. SVC Pharma Inc.
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                               PURDUE PHARMA INC.

                            SECRETARY'S CERTIFICATE

                                   September 15, 2019



          I,Marc L. Kesselman,the Secretary ofPurdue Pharma Inc., a New York
  corporation ("PPI"), hereby certify, in my capacity as the Secretary ofPPI and not
  individually, that the resolutions attached as Annex A were duly approved by the Board
  of Directors ofPPI on September 15,2019, have not been amended, modified, revoked or
  rescinded as ofthe date hereof, and are in full force and effect.



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            IN WITNESS WHEREOF,the undersigned, solely in his capacity as the
    Secretary of PPI, and not individually, has executed this Certificate as of the date first
    written above.

                                                  PURDUE PHARMA INC.


                                                  By:
                                                         Name: March . Kesse an
                                                         Title: Senior Vice President, General
                                                         Counsel &Secretary




                           [SignatzcNe Page to Secretary's Certificate]
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                                    Annex A

                                   Resolutions

                                 [See attached.]




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                                            Purdue Pharma Inc.
                                    Resolutions of the Board of Directors


                                                September 15, 2019


                 Commencement of Chapter 11 Case

         WHEREAS,(i) the Corporation is the general partner of Purdue Pharma L.P., a Delaware
 limited partnership ("PPLP"), and the general partner or managing general partner of each entity
 identified on Schedule 1 A hereto, and (ii) PPLP is a limited partner or partner of each entity
 identified on Schedule lA hereto (other than Rhodes Pharmaceuticals L.P. ("Rhodes Phanna
 LP"), Rhodes Technologies("Rhodes") and UDF L.P.("UDF"))• ~

        WHEREAS,(i) Rhodes Associates L.P.("Rhodes LP") is(A)the general partner of each
entity identified on Schedule 1B hereto and (B) a limited partner of Rhodes Pharma LP and a
partner of Rhodes, and (ii) Rhodes is a limited partner of UDF;

        WHEREAS, each of PPLP, each entity identified on Schedule lA and each entity
identified on Schedule 1 B is hereafter referred to as a "Partnership" and collectively, the
"Partnerships";

         WHEREAS the Board reviewed and considered the materials presented by the
management team and the financial and legal advisors of each Partnership regarding the
liabilities and liquidity of each Partnership, the strategic alternatives available to each of them
and the impact of the foregoing on the Partnerships' respective businesses; and

        WHEREAS the Board consulted with each Partnership's management team and its
financial and legal advisors, and has fully considered each of the Partnerships' strategic
alternatives.

        NOW, THEREFORE, BE IT RESOLVED that in the judgment of the Board, it is
desirable and in the best interests of(i) the Corporation,(ii) PPLP (in the Corporation's capacity
as general partner of PPLP)and (iii) each of the other Partnerships (in the Corporation's capacity
as general partner of certain of such Partnerships, or in its capacity as general partner of an entity
that is directly or indirectly the general partner, limited partner or partner of certain of such
Partnerships), and (iii) the respective creditors and other stakeholders of each of the foregoing,
that a petition be filed by the Corporation and each of the Partnerships seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"); and


            Additional conformed resolutions needed for the Boards of(A)Nayatt Cove Lifescience Inc.,(B)Paul
Land [nc.,(C)SVC Pharma Inc.(covering the Ch. 1 1 filing of itself, and of SVC Pharma LP in its capacity as the
general partner of SVC Pharma LP),(D)Seven Seas Hill Corp. and (E) Ophir Green Corp.(the latter two are BVI
entities, and these resolutions should cover the Ch. 11 filing for each BVI entity and also each authorize the Ch. 1 1
filing for Purdue Pharma of Puerto Rico, a DE general partnership, of which each BVI entity is a 50% partner).




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         RESOLVED FURTHER, that each of the Chief Executive Officer, Chief Financial
 Officer or any other officer or duly authorized signatory of the Corporation (each, an
"Authorized Person") be, and each of them hereby is, authorized on behalf of(i) the Corporation,
(ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each of the other
Partnerships (in the Corporation's capacity as general partner of certain of such Partnerships, or
 in its capacity as general partner of an entity that is directly or indirectly the general partner,
 limited partner or partner of certain of such Partnerships), to execute and verify petitions under
chapter 11 of the Bankruptcy Code and to cause such petitions to be filed in the United States
Bankruptcy Court for the Southern District of New York (the "Court"), each such petition to be
filed at such time as the Authorized Person executing the petition shall determine and to be in the
form approved by the Authorized Person executing such petition, such approval to be
conclusively evidenced by the execution, verification and filing thereof.

               Retention of Advisors

         RESOLVED,that the Authorized Persons be, and hereby are, authorized, empowered and
 directed to employ, subject to Bankruptcy Court approval: (i) the law firm of Davis Polk &
 Wardwell LLP as general bankruptcy counsel, (ii) PJT Partners LP as investment banker, (iii)
 AlixPartners LLP as restructuring financial advisor,(iv) Prime Clerk LLC as notice, claims and
 solicitation agent, and (v) any other legal counsel, accountants, financial advisors, restructuring
 advisors or other professionals any of the Authorized Persons deems necessary, appropriate or
 advisable; each to represent and assist the Corporation and each Partnership in carrying out their
 respective duties and responsibilities and exercising their respective rights under the Bankruptcy
 Code (including, but not limited to, the law firms filing any pleadings or responses); and in
 connection therewith, each of the Authorized Persons be, and hereby is authorized, empowered
 and directed, in accordance with the terms and conditions hereof, to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
 for authority to retain such services; and

         RESOLVED FURTHER, that each of the Authorized Persons, be, and hereby is,
 authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers, and to perform such further actions and execute such
 further documentation that such Authorized Person deems necessary, appropriate or desirable in
 accordance with theseresolutions.

           General Authorization and Ratification

         RESOLVED that the Authorized Persons be, and each of them hereby is, authorized,
 directed and empowered, in the name and on behalf of (i) the Corporation, (ii) PPLP (in the
 Corporation's capacity as general partner of PPLP)and (iii) each of the other Partnerships (in the
 Corporation's capacity as general partner of certain of such Partnerships, or in its capacity as
 general partner of an entity that is directly or indirectly the general partner, limited partner or
 partner of certain of such Partnerships), to take, or cause to be taken, any and all further actions
(including, without limitation,(i) execute, deliver, certify, file and/or record and perform any and
 all documents, agreements, instruments, motions, affidavits, applications for approvals or rulings
 of governmental or regulatory authorities or certificates and (ii) pay fees and expenses in
 connection with the transactions contemplated by the foregoing resolutions) and to take any and



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 all steps deemed by any such Authorized Person to be necessary, advisable or desirable to carry
 out the purpose and intent of each of the foregoing resolutions, and all actions heretofore taken
 by any such Authorized Person or the Board in furtherance thereof are hereby ratified, confirmed
 and approved in all respects; and

         RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of (i) the
 Corporation, (ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each
 of the other Partnerships (in the Corporation's capacity as general partner of certain of such
 Partnerships, or in its capacity as general partner of an entity that is directly or indirectly the
 general partner, limited partner or partner of certain of such Partnerships), which acts would have
 been approved by the foregoing resolutions except that such acts were taken before the adoption
 of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
 the Corporation and the Partnerships, as applicable, with the same force and effect as if each
 such act, transaction, agreement, or certificate has been specifically authorized in advance by
 resolution of the Board; and

        RESOLVED FURTHER, that the omission from these resolutions of any agreement,
document or other arrangement contemplated by any of the agreements, documents or
instruments described in the foregoing resolutions or any action to be taken in accordance with
any requirement of any of the agreements or instruments described in the foregoing resolutions
shall in no manner derogate from the authority of the Authorized Persons to take all actions
necessary, desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by, and the intent and purposes of, the foregoing resolutions.




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                                             Schedule lA

                        ENTITY                         JURISDICTION OF FORMATION

       Purdue Transdermal Technologies L.P.                      Delaware

         Purdue Pharma Manufacturing L.P.                        Delaware

               Purdue Pharmaceuticals L.P.                       Delaware

                Imbrium Therapeutics L.P.                        Delaware

                 Adlon Therapeutics L.P.                         Delaware

               Greenfield BioVentures L.P.                       Delaware

                    Avrio Health L.P.                            Delaware

       Purdue Pharmaceutical Products L.P.                       Delaware

              Purdue Neuroscience Company                        Delaware

                 Rhodes Associates L.P.                          Delaware

              Rhodes Pharmaceuticals L.P.                        Delaware

                  Rhodes Technologies                            Delaware

                       UDF L.P.                                  Delaware



                                             Schedule 1B

                       ENTITY                          JURISDICTION OF FORMATION

                   Button Land L.P.                              Delaware

                  Quidnick Land L.P.                             Delaware




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 DAMS POLK & WARDWELL LLP
 450 Lexington Avenue
 New York, New York 10017
 Telephone:(212)450-4000
 Facsimile:(212) 701-5800
 Marshall S. Huebner
 Benjamin S. Kaminetzky
 Timothy Graulich
 Eli J. Vonnegut

Proposed Counsel to the Debtors
and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:                                                         Chapter 11

 PURDUE PHARMA L.P., et al.,                                    Case No. 19-[       ](RDD)

                  Debtors. ~                                   (Joint Administration Pending)


          CONSOLIDATED CORPORATE OWNERSffiP STATEMENT PURSUANT
          TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

          Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

Procedures (the "Bankruptcy Rules") and Rule 1007-3 of the Local Bankruptcy Rules for the

 Southern District of New York (the "Local Rules"), Purdue Pharma L.P. ("PPLP") and its

 affiliates that are debtors and debtors in possession (collectively, the "Debtors") respectfully

 represent:



          t The Debtors in these cases, along with the last four digits of each Debtor's registration number in the
 applicable jurisdiction, are as follows: Purdue Pharma L.P.(7484), Purdue Pharma Inc.(7486), Purdue Transdermal
 Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
 Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
 Seas Hill Corp.(4591), Ophir Green Corp.(4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P.(4140),
 Purdue Pharmaceutical Products L.P.(3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
(7805), Button Land L.P.(7502), Rhodes Associates L.P.(N/A), Paul Land Inc.(7425), Quidnick Land L.P.(7584),
 Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
 SVC Pharma Inc. (4014). The Debtors' corporate headquarters is located at One Stamford Forum, 201 Tresser
 Boulevard, Stamford, CT 06901.
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       1.      Non-Debtor Pharmaceutical Research Associates L.P. directly owns 100% of the

ownership interests of PPLP.      Non-Debtor PLP Associates Holdings L.P. directly owns

approximately 99.5061% of the ownership interests of Pharmaceutical Research Associates L.P.

Non-Debtor BR Holdings Associates L.P. directly owns 100% of the ownership interests of PLP

Associates Holdings L.P. Non-Debtor Beacon Company and non-Debtor Rosebay Medical

Company L.P. each directly own 50% ofthe ownership interests of BR Holdings Associates L.P.

Non-Debtor Heatheridge Trust Company Limited, as Trustee under Settlement dated 31

December 1993 directly owns 100% of the ownership interests of Beacon Company. Richaxd S.

Sackler, M.D.("RSS") and Jonathan D. Sackler ("JDS"), as Trustees under Trust Agreement

dated November 5, 1974 directly own 98% of the ownership interests of Rosebay Medical

Company L.P. To the best of the Debtors' knowledge and belief, no other person or entity

directly or indirectly owns 10% or more ofthe ownership interests ofPPLP.

       2.      Non-debtor Banela Corporation directly owns 50% of the ownership interests of

Debtor Purdue Pharma Inc. ("PPI"); non-debtor Linarite Holdings LLC directly owns 25% of

the ownership interests of PPI; and non-debtor Perthlite Holdings LLC directly owns 25% of the

ownership interests of PPI. Non-debtor Millborne Trust Company Limited, as Trustee of the

Hercules Trust under Declaration of Trust dated 2 March 1999 directly owns 100% of the

ownership interests of Banela Corporation. Non-debtor Data. LLC, as Trustee under Trust

Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Linarite

Holdings LLC. Non-debtor Cornice Fiduciary Management LLC, as Trustee under Trust

Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Perthlite

Holdings LLC. To the best of the Debtors' knowledge and belief, no other person or entity

directly or indirectly owns 10% or more of the ownership interests of PPI.




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        3.     PPLP directly owns 100% of the ownership interests of the following Debtors:

 Purdue Transdermal Technologies L.P., Purdue Pharmaceuticals L.P., Purdue Pharma

 Manufacturing L.P., Adlon Therapeutics L.P., Imbrium Therapeutics L.P., Greenfield

 BioVentures L.P., Nayatt Cove Lifescience Inc., Purdue Pharmaceutical Products L.P., Rhodes

 Associates L.P., Avrio Health L.P., Seven Seas Hill Corp., and Ophir Green Corp. PPLP directly

 owns 99% of the ownership interests of Debtor Purdue Neuroscience Company. Purdue Pharma

 Inc. directly owns the remaining 1% of the ownership interests of Purdue Neuroscience

 Company.

       4.      Rhodes Associates L.P. directly owns 100% of the ownership interests of the

following Debtors: Rhodes Technologies, Rhodes Pharmaceuticals L.P. and Paul Land Inc.

        5.     Rhodes Technologies directly owns 100% of the ownership interests of UDF L.P.

 and SVC Pharma Inc.

       6.      UDF LP directly owns 100% of the ownership interests of Button Land L.P. and

 Quidnick Land L.P. UDF LP directly owns 99% of the ownership interests of SVC Pharma LP

 SVC Pharma Inc. directly owns 1% of the ownership interests ofSVC Pharma LP.

       7.      Seven Seas Hill Corp. and Ophir Green Corp. each directly own 50% of the

ownership interests of Purdue Pharma of Puerto Rico.

       8.      Attached hereto as Exhibit A is an organizational chart reflecting the Debtors'

ownership structure.




                                              3
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                                   Exhibit A
PURDUE PHARMA L.P. -SUBSIDIARIES




                                                                                                                                                   Purdue Pharma L.P.,
                                     Purdue Pharma Inc.,
                                   a New YorA corporation                                                      ~                              a velaware limited partnership
                                                                                                               L
                                                0%•                                                                100%                                                                                                                                                                                   Purdue Pharma Inc.,
                                                                                                                                                                                                                                                                                                        a New York corporation




                                                                                                                                                                                                                                                  19-23649-rdd
                                                                                                                                                                       1 00%                                                                                                                               0%'
                               Rhodes Associates L.P.,
                            a Delaware limited pa~lnership
                                                                                                                                                                               Nurduc Transdcnnal Technologies L.P.,          Purdue Pharmaccwicals L.P.,                                  Purdue Phanna Manufacmnng L.P..
                                                                                                             Purdue Pharma Inc.,                                                   a Ucla~rarc limited pannarship            a Delaware limited pannuship                                    a Dclaxarc linuWd panncrship
                              Purdue Pharma Inc.,                                                          a Nzw York corporation
                            a New York corporation
                 100                                              100%              100%                                    0%~
                                       0%'•                                                                                                                           Adlon Thcrapcmics L.P.,                 hnbrium Therapeutics L.P..                                  Gmcnficld BioVcnluras L.P.,
               Paul Land                                                                                                                                           a Uelaxarc limi~ul panncrship            a Dela~~arc limitd pannership                                a Delauarc limned parmers6ip
                 Inc.,                                     Rhodes Technologies,                             Rhodes Phannaceuticals L.P.,
              a New York                               a Delaware general parmership                       a Delaware limited partnership




                                                                                                                                                                                                                                                  Doc 1
              corporation           ~~~                                  100%                  100%                                                              100
                                                        UDF LP,                                   SVC Pharma Inc.,                                            Nayatt Cove Lifescience Inc.,
                                              a Delaware limited partnership                   a Delaware corporation                                           a Dzlaware corporation
         0%'                                                               99%                                         1%
                                            100%




                                                                                                                                                                                                                              Filed 09/15/19 Entered 09/15/19 23:22:53
                  Button Land L.P.,                                                                                                                                              Purdue Pharma Inc.,
            a Delaware limited partnership                                         SVC Pharma LP,                                                                              a New York corporation
                                                         l00%                a Delaware limited partnership
                                                                                                                                                           ~iei                      i/
~~~           Quidnick Land L.P.,
         a Delaware limited partnership
                                                                           goo/
                                                                                                                 Purdua Pharma Inc.,                        Purdue Neuroscience Company, a
                                                                                                               a New York corporation                         Dzlaware general partnership




                                                                                                                                                                                                                                           Pg 17 of 24
                                             Seven Seas Hill Corp.               Ophir Green Corp.
                                            (British Virgin Islands)          (British Virgin Islands)
                                                                                                                          0%'                    IOa°„                       Purdue Pharma Inc.,
                                                        50%                                     50%                                                                        a New York corporation


                                                                                                                          A~rio Health L.P.,             l uu%                     py,+~
                                                               Purdue Pharma of Puerto Rico,
                                                                                                                    a Delaware limited partnership
                                                               a Delaware gentral parmzrship
                                                                                                                   (Formerly Purdue Products L.P. ~
                                                                                                                                                         Purduz Pharmaceutical Products L.P.,
                                                                                                                                                            a Delaware limired parmership




                                                                                                                                                                                                                                                  Main Docume
      General Panner has no equity in[erest in L.P., rather the General Partner receives a service fee for acting as General Partner.
 PURDUE PHARMA L.P.-OWNERSHIP

                                                                                                                                                                                                                      Cornice Fiduciary
                                                                                                                                    lieatheridge Trust Compa~iy                                                       Management LLC,
                                                                                      Cornice Fiduciary                               Limited, as Trustee under                      Data LLC, as ~Prustee
     Millborne Trust Company                                                                                                                                                                                           as Trustee under
                                                                                    Management LLC, as                          Settlement dated 31 December 1993                   under Trust Agreement
     Limited, as 1'rustae of the              Daia LLC,as Trustee                                                                                                                                                      Trust Agreement
                                                                                     Trustze under Trust                                                                              dated December 23,
       Hercules 'f rust under                under Trust Abreemem                                                                                                                                                    dated December 23,
                                                                                      Agreement datzd                              100oa
                                                                                                                                      /                          100%                 1989(1989'I'rust I)
     Declaration of Trust datad               dated December 23,                               ~                                                                                                                     1989(1989 Trust 2)
                                                                                     December _3, 1989
          2 March 1999                         1989(1989 Trust 3)                      (1989 Trust 4)
                                                                                                                                                                                      50%                            50%
                       100%                                      100%                                  100%
                                                                                                                         Stanhope Gate Corp.
                                                                                                                        (British Virgin Islands)
                                             Linarite Holdings LLC,                Perthlite Holdings LLC,




                                                                                                                                                                                                                                               19-23649-rdd
       Banela Corporation                      a Delaware limited                     a Delawara limited                                                                                    Rosebay Medical Company, Inc.,                                            Richard S. Sackler, M.D.("RSS")and
     (British Virgin Islands)                   liability company                      liability company                          p/o                                                         a Delaware corporation(GP)                                                 Jonathan D. Sackler f'JDS"), as
                                                                                                                                                                                                                                                                      Trustees under Trust Agrnzment datzd
                                                                                                                                                                                                                                                                                November 5, 1974

                                                                                                                                                                                                             2%
                                                                                                                                                                                                                                                                                    98%
                                                                                                                                        Beacon Company, a Delaware
                                                            Z5~                         25%                                                 general partnership                                                          r
                       50%
                                                                                                                                                                                                                                             Rosebay Medical Company L.N.,
                                                                                                                                                                                                                                              a Dzlaware limited partnership
                                                                                                                                                                                    BR Holdings Associates Inc.,
                                                                                                                                                                                      a New York corporation




                                                                                                                                                                                                                                               Doc 1
                                                                                                            Same ultimatz bzneficial                    ~ u"~,                                       0%*                                             50
                                                                                                        ownership as Purdue Pharma Inc.


                                                                                                          PLP Associates Holdings Inc.,                                             BR Holdings Associates L.P.,




                                                                                                                                                                                                                           Filed 09/15/19 Entered 09/15/19 23:22:53
                                                                                                            a New York corporation                                                  a Dalaware limited partnership


                                                                                                                                         0°h'                                             100




                                                           Purdue Phanna Inc.,                                                                     PLP Associates Holdings L.P.,                       PLP Associates Holdings Inc.,                                                  BR Holdings Associates Inc.,




                                                                                                                                                                                                                                        Pg 18 of 24
                                                         a New York corporation                                                                    a Delaware limited partnership                        a New York corporation                                                         a New York corporation

                                                                              0.2475%"                                                     99.5061%"                                                 0.2464%#•                                                                       0%•




                                                                                                                            Pharmaceutical Research Associates L.P.,
                                                                                                                               a Delaware limited partnership***
                                                                           o~•
                                                                                                                                                                     ioor

                                                                                                              Purdue Pharma L.P., a Delaware limited partnership



      General Partner has no equity interest in L.P., rather the General Penner receives a service fee for acting as General Partner.
" BR Holdings Associates Inc. is the general partner of Pharmaceutical Research Associates L.P.; Purdue Pharma Inc., PLP Associates Holdings Inc. and PLP Associates Holdings L.P. are the limited partners of Pharmaceutical Research Associates L.P.
•••Name change from Purdue Holdings L.P. to Pharmaceutical Research Associated L.P. effective July 24, 2018




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         Debtor name            Purdue Pharma L.P.

         United States Bankruptcy Court for the: Southern District of New York

         Case number (if known)                                                                                                     ❑ Check if this is an
                                                                                                                                      amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.§ 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.
     Certain of the Debtors are named as defendants in over 2,600 actions across the country in connection with the marketing and sale of opioid medications
    ("Pending Actions"). Any claims asserted against any Debtor in respect of the Pending Actions (the "Pending Action Claims") are contingent,
     unliquidated in amount and disputed. All creditors asserting Pending Action Claims will be included in the Debtors' list of creditors. This List of Creditors
     Who Have the 50 Largest Unsecured Claims and Are Not Insiders does not include these contingent, unliquidated and disputed claims.
      Name of creditor and complete             Name, telephone number, and email Nature of the claim       Indicate if     Amount of unsecured claim
      mailing address, including zip code       address of creditor contact       (for example, trade       claim is        If the claim is fully unsecured, fill in only
                                                                                  debts, bank loans,        contingent,     unsecured claim amount. If claim is partially
                                                                                   professional             unliquidated,   secured, fill in total claim amount and
                                                                                  services, and             or disputed     deduction for value of collateral or setoff to
                                                                                  government                                calculate unsecured claim.
                                                                                  contracts)
                                                                                                                            Total claim, if Deduction for     Unsecured
                                                                                                                            partially       value of          claim
                                                                                                                            secured         collateral or
                                                                                                                                            setoff
                                                ENSIONBENEFITGUARANIYCORPORATION
~     PENSION BENEFIT GUARANTY CORPORATION
                                                nN:CYNTHIA WONG
      CYNTHIA WONG                                                                                            CONTINGENT
                                                HONE:202-229-3033                            PENSION                                                         UNDETERMINED
      1200KSTREETNW                                                                                          UNLIQUIDATED
                                                /1X: 202-326-4112
        ASHINGTON, DC 20005
                                                MAIL: WONG.CYNTHIA@PBGC.GOV


      CVS CAREMARK PART D SERVICES, L.L.C.      VS CAREMARK PART D SERVICES, L.L.C.
       NDY ZANIN, TRADE DIRECTOR, MED D         TTN: ANDY ZANIN, TRADE DIRECTOR, MED D
                                                                                          PAYER REBATES                                                        519,281,161
      1 CVS DRIVE                               HONE:440-542-4010
      WOONSOCKET, RI 02895                      MAIL: ANDREW.ZANIN@CVSHEALTH.COM


3     OPTUMRX, INC.                             PTUMRX, INC.
      KENT ROGERS, SENIOR VP INDUSTRY           TTN: KENT ROGERS,SENIOR VP INDUSTRY
      RELATIONS                                 ELATIONS                                   PAYER REBATES                                                       $15,800,513
      2300 MAIN ST                              HONE: 949-988-6066
      IRVINE, CA 92614-6223                     MAIL: KENT.ROGERS@OPTUM.COM

4     DEFENSE HEALTH AGENCY                     EFENSE HEALTH AGENCY
      COLONEL DAVID BOBB, CHIEF PHARMACY        TTN: COLONEL DAVID 0088, CHIEF PHARMACY
      OPERATIONS DIVISION, DHA                  PERATIONS DIVISION, DHA                    PAYER REBATES                                                        55,952,016
      16401 E CENTRETECH PKWY                   HONE: 703-681-2890
       URORA, C080011-9066                      MAIL: DAVID.W.BOBB.CIV@MAIL.MIL


5     DEPARTMENT OF HEALTH CARE SERVICES(CA) DEPARTMENT OF HEALTH CARE SERVICES(CA)
      ROBERT SHUN                             TTN: ROBERT SHUN
                                                                                           PAYER REBATES                                                        55,162,762
      PO BOX 997413                           HONE: 916-552-9609
      SACRAMENTO, CA 95899-7413               MAIL: ROBERT.SHUN@DHCS.CA.GOV


                                                A REMARKPCS HEALTH, L.L.C.
      CAREMARKPCS HEALTH, L.L.C.
                                                ~N:SAPPAN BHATT, DIRECTOR TRADE
       APPAN BHATT, DIRECTOR TRADE RELATIONS
                                                ELATIONS                                  PAYER REBATES                                                         55,039,745
      1 CVS DRIVE
                                                HONE:847-559-3062
      WOONSOCKET, RI 02895
                                                MAIL: SAPPAN.BHATT@CVSHEALTH.COM




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Debtor      Purdue Pharma L.P.                                                                               Case number (if known)
             Name

     Name of creditor and complete               Name, telephone number, and email              Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         address of creditor contact                   (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                               debts, bank loans,     contingent,     unsecured claim amount. if claim is partially
                                                                                               professional           unliquidated,   secured, fill in total claim amount and
                                                                                               services, and          or disputed     deduction for value of collateral or setoff to
                                                                                               government                             calculate unsecured claim.
                                                                                               contracts)
                                                                                                                                      Total        Deduction         Unsecured
                                                                                                                                      claim, if    for value of      claim
                                                                                                                                      partially    collateral or
                                                                                                                                      secured      setoff

~     MERISOURCEBERGEN                           MERISOURCEBERGEN
     DAVE VIETRI, VICE PRESIDENT BRANDED AND     TTN: DAVE VIETRI, VICE PRESIDENT BRANDED
      PECIALTY CONTRACTS                         ND SPECIALTY CONTRACTS                          DISTRIBUTOR FEES                                                         54,455,373
     3735 GLEN LAKE DR                           HONE:610-727-7310
     CHARLOTTE, NC 28208                         MAIL: DVIETRI@AMERISOURCEBERGEN.COM

$    NORTH CAROLINA DEPARTMENT OF HEALTH         ORTH CAROLINA DEPARTMENT OF HEALTH AND
      N D HUMAN SERVICES                        HUMAN SERVICES
      OHN STANCIL                                TTN:JOHN STANCIL                                  PAYER REBATES                                                          $3,703,227
     2001 MAIL SERVICE CENTER                    HONE:919-855-4305
     RALEIGH, NC 27699-2000                      MAIL:IOHN.STANCIL@DHHS.NC.GOV

9    MCKESSON CORPORATION                         CKESSON CORPORATION
     CHRIS ALVERSON, SENIOR VICE PRESIDENT OF    TTN: CHRIS ALVERSON,SENIOR VICE PRESIDENT
     SUPPLY CHAIN MANAGEMENT                     F SUPPLY CHAIN MANAGEMENT                       DISTRIBUTOR FEES                                                         $3,655,581
     ON E POST ST                                H ON E:972-446-4104
     SAN FRANCISCO, CA 94104-5203                MAIL: CHRIS.ALVERSON@MCKESSON.COM


1 O CARDINAL HEALTH                              ARDINAL HEALTH
     EFF CIZL, DIRECTOR STRATEGIC SOURCING       TTN: JEFF CIZL, DIRECTOR STRATEGIC SOURCING
    NATIONAL BRANDS                             NATIONAL BRANDS                                  DISTRIBUTOR FEES                                                         $3,465,979
    1330 ENCLAVE PKY                             HONE:614-757-3694
    HOUSTON,TX 77077-2025                       EMAIL: JEFF.CIZL@CARDINALHEALTH.COM


~ ~ MISSOURI HEALTHNET DIVISION                 MISSOURI HEALTHNET DIVISION
    CAROLINA DELAROCHA                           TTN: CAROLINA DELAROCHA
                                                                                                   pgYER REBATES                                                          $3,172,515
    PO BOX 570                                  PHONE: 573-526-5664
     EFFERSON CITY, MO 65102                     MAIL: CAROLINA.D.DELAROCHA@DSS.MO.GOV

                                                 SCENT HEALTH SERVICES LLC
      SCENT HEALTH SERVICES LLC
~2                                               TTN: EDWARD ADAMCIK, PRESIDENT ASCENT
     EDWARD ADAMCIK, PRESIDENT ASCENT
                                                 EALTH SERVICES
     HEALTH SERVICES                                                                              PAYER REBATES                                                           $2,798,697
                                                 HONE: 908-240-1537
     1209 ORANGE ST
                                                 MAIL:
       I LMINGTON, DE 19801
                                                EADAM CI K@ASCE NTH EALTHS ERV IC ES.COM

13 WISCONSIN DEPARTMENT OF HEALTH                 ISCONSIN DEPARTMENT OF HEALTH SERVICES
      ERVICES
                                                 1TN: KIM WOHLER
     KIM WOHLER                                                                                   PAYER REBATES                                                           $2,021,937
                                                 HONE:608-267-7100
     313 BLETHER RD
                                                EMAIL: KIM.WOHLER@WISCONSIN.GOV
     MADISON, WI 53784

    TATE OF NEW YORK DEPARTMENT OF
                                                TATE OF NEW YORK DEPARTMENT OF HEALTH
14 HEALTH
                                                TTN: CHRISTOPHER DESORBO
   CHRISTOPHER DESORBO
                                                HONE: 518-402-0836                                PAYER REBATES                                                           51,963,959
   RIVERVIEW CENTER
                                                MAIL:
   150 BROADWAY SUITE 355
                                                HRISTOPHER.DESORBO@HEALTH.NY.GOV
    LBANY, NY 12204-2719

~5    TATE OF NEW JERSEY DIVISION OF MEDICAL TATE OF NEW JERSEY DIVISION OF MEDICAL
      SSISTANCE AND HEALTH SERVICES           SSISTANCE AND HEALTH SERVICES
     DAVID WILLIAMS                           TTN: DAVID WILLIAMS                                 PAYER REBATES                                                           $1,614,986
     LOCKBOX 655                             PHONE:609-588-7395
      RENTON, NJ 08646-0655                   MAIL: DAVID.R.WILLIAMS@DHS.STATE.NJ.US


16 PRIME THERAPEUTICSLLC                        PRIME THERAPEUTICSLLC
      OSH BAST, SENIOR DIRECTOR                  TTN:JOSH BAST, SENIOR DIRECTOR
     PHARMACEUTICAL TRADE RELATIONS              HARMACEUTICALTRADE RELATIONS                     PAYER REBATES                                                           51,533,047
     PO BOX 64812                                HONE:612-777-5621
      T PAUL, MN 08646-0655                      MAIL: JABAST@PRIMETHERAPEUTICS.COM

                                                 HIO DEPARTMENTOF MEDICAID
~ ~ OHIO DEPARTMENT OF MEDICAID
                                                 TTN: TRACEY ARCHIBALD
     RACEY ARCHIBALD
                                                PHONE:614-752-3522                                PAYER REBATES                                                           $1,478,682
     345 N. LINCOLN BLVD.
                                                 MAIL:
    OKLAHOMA CITY, OK 73105
                                                 RACEY.ARCHIBALD@ MEDICAID.OHIO.GOV



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Debtor      Purdue Pharma L.P.                                                                    Case number (if known)
             Name

    Name of creditor and complete            Name, telephone number, and email       Nature of the claim   Indicate if     Amount of unsecured claim
    mailing address, including zip code      address of creditor contact            (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                    debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                     professional          unliquidated,   secured, fill in total claim amount and
                                                                                    services, and          or disputed     deduction for value of collateral or setoff to
                                                                                    government                             calculate unsecured claim.
                                                                                    contracts)
                                                                                                                           Total        Deduction         Unsecured
                                                                                                                           claim, if    for value of      claim
                                                                                                                           partially    collateral or
                                                                                                                           secured      setoff

~$ COMMONWEALTH OF PENNSYLVANIA             OMMONWEALTH OF PENNSYLVANIA MEDICAID
   MEDICAID DRUG REBATE PROGRAM             RUG REBATE PROGRAM
   BRITTANY STARR                           TTN: BRITTANY STARR                         PAYER REBATES                                                          $1,442,635
   PO BOX 780634                            HONE: 717-346-8164
   PHILADELPHIA, PA 19178                  EMAIL: C-BSTARR@PA.GOV


~ 9 GEORGIA DEPT OF COMMUNITY HEALTH        EORGIA DEPT OF COMMUNITY HEALTH
    REBECCA MORRISON                        TTN: REBECCA MORRISON
                                                                                       PAYER REBATES                                                           51,414,770
    MEDICAID DRUG REBATE PROGRAM            HONE: 404-657-7239
     TLANTA, GA 30384-8194                  MAIL: REBECCA.MORRISON@DCH.GA.GOV


 ~ SYNEOS HEALTH fka INVENTIV HEALTH        YNE05 HEALTH fka INVENTIV HEALTH
   HAIYAN WANG, DIRECTOR BUSINESS           TTN: HAIYAN WANG, DIRECTOR BUSINESS
   DEVELOPMENT, EARLY PHASE                 EVELOPMENT, EARLY PHASE                      TRADE DEBT                                                            $1,073,469
   1030 SYNC ST                             HONE: 514-485-7579
   MORRISVILLE, NC 27560                    AX: 919-876-9360


21 RHODES TECHNOLOGIES INC                  HODES TECHNOLOGIES INC
   EDWARD MAHONY                            TfN: EDWARD MAHONY
                                                                                        SERVICES FEES                                                          $1,034,752
   201TRESSER BOULEVARD                     HONE: 203-588-7088
    TAMFORD, CT 06901                       MAIL: EDWARD.MAHONY@TXPSVCS.COM



 2 OHIO CIINICALTRIAL5INC                   HIO CLINICALTRIALS INC
   G LEN APSELOFF                           TTN:GLEN APSELOFF
                                                                                         TRADE DEBT                                                              $600,000
   1380 EDGEHILI RD                         HONE:614-754-1570
   COLUMBUS,OH 43212                       EMAIL: GLEN@OHIOCLINICALTRIALS.COM


23 PPD DEVELOPMENT LP                       PD DEVELOPMENT LP
   STEPHEN SCALDAFERRI                      TTN:STEPHEN SCALDAFERRI
                                                                                         TRADE DEBT                                                             $522,334
   26361 N ETWO RK PL                       HONE:910-465-7800
   CHICAGO, IL 60673                        MAIL: STEPHEN.SCALDAFERRI@PPDI.COM


24 OKIAHOMA HEALTH CARE AUTHORITY           KLAHOMA HEALTH CARE AUTHORITY
   STACEY HALE                              TTN:STACEY HALE
                                                                                       PAYER REBATES                                                            $400,586
   PO BOX 18968                             HONE:405-522-7453
   OKLAHOMA CITY, OK 73154-0299             MAIL: STACEY.HALE@OKHCA.ORG


25 PHARMACEUTICAL RESEARCH ASSOC INC        HARMACEUTICAL RESEARCH ASSOC INC
    OSEPH DAWN                              TTN: JOSEPH DAWN
                                                                                         TRADE DEBT                                                             $373,122
    130 PARKLAKE AVE STE 400                HONE:434-951-3208
   RALEIGH, NC 27612                        MAIL: JOSEPHDAWN@PRAHS.COM


26 WAVELENGTH ENTERPRISES INC                AVELENGTH ENTERPRISES INC
                                            ~N: RAYMOND ALSKO
   RAYMOND ALSKO
                                            HONE:973-832-9260                            TRADE DEBT                                                             $361,909
   1700 RTE 23 N STE 130 FIRST FL
                                            MAIL:
   WAYNE, NJ 07470
                                            AYMON D.ALSKO@ WAVELENGTHPHARMA.COM


2~ CONTRACTPHARMACALCORP                    ONTRACTPHARMACALCORP
    NTHONYGARGANO                           TTN:ANTHONYGARGANO
                                                                                         TRADE DEBT                                                             $327,422
   135 ADAMS AVE                            HONE:631-231-4610
   HAUPPAUGE, NY 11785-3633                 MAIL: ANTHONY.GARGANO@CPC.COM



28 PL DEVELOPMENT LLC                       L DEVELOPMENT LLC
    SINGLEfERRY                             TTN:1 SINGLEfERRY
                                                                                         TRADE DEBT                                                             $271,195
   609-2 CANTIAGUE ROCK RD                  HONE: 516-986-1700
     ESTBURY, NY 11590                     EMAIL: JSINGLETERRY@PLDEVELOPMENTS.COM




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Debtor      Purdue Pharma L.P.                                                                     Case number (if known)
             Name

     Name of creditor and complete            Name, telephone number, and email       Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      address of creditor contact            (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                     debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                      professional          unliquidated,   secured, fill in total claim amount and
                                                                                     services, and          or disputed     deduction for value of collateral or setoff to
                                                                                     government                             calculate unsecured claim.
                                                                                     contracts)
                                                                                                                            Total         Deduction        Unsecured
                                                                                                                            claim, if     for value of     claim
                                                                                                                            partially     collateral or
                                                                                                                            secured       setoff


29 HEALTHCORE INC                             EALTHCORE INC
   KELSEY GANGEMI                             TTN: KELSEY GANGEMI
                                                                                          TRADE DEBT                                                              5269,621
   123 JUSTISON ST STE 200                    HONE: 302-230-2000
     ILMINGTON, DE 19801                      MAIL: KGANGEMI@HEALTHCORE.COM


3O COGNIZANT TECH SOLUTIONS US CORP           OGNIZANTTECH SOLUTIONS US CORP
    U RANIAN KAYAL                            TTN:SURANJAN KAYAL
                                                                                          TRADE DEBT                                                              $262,216
   24721 NETWORK PL                           HONE: 201-744-3444
   CHICAGO, IL 60673                          MAIL SURANIAN.KAYAL@COGNIZANT.COM


31 WgLRUS LLC                                  ALRUS LLC
     PAULA BUCHMA                             TTN: PAULA BUCHMA
                                                                                          TRADE DEBT                                                              $236,471
     18 E 17TH ST 4TH FL                      HONE:646.731.1701
     NEW YORK, NY 10003                       MAIL: PAULA@WALRUSNYC.COM


32 DENVER HEALTH &HOSPITALAUTH                ENVER HEALTH &HOSPITALAUTH
    COTT HOYE, GENERAL COUNSEL                TTN:SCOTT HOVE, GENERAL COUNSEL
                                                                                          TRADE DEBT                                                              $235,742
   777 BANNOCK STREET                        PHONE: 303-436-6000
   DENVER, CO 80204                           AX:303-602-4934


33    EMERSON GROUP INC                       EMERSON GROUP INC
     MATT POLI                                TTN: MATT POLI
                                                                                          TRADE DEBT                                                              $234,029
     07 EAST LANCASTER AVE                    HONE:610-971-9600
      AYNE, PA 19087                          MAIL: MATT.POLI@EMERSONGROUP.COM


34 INTEGRATED BEHAVIORAL HEALTHINC           NTEGRATED BEHAVIORAL HEALTHINC
   MARY SWEET                                TTN: MARY SWEET
                                                                                          TRADE DEBT                                                              5228,793
   3070 BRISTOL ST STE 350                   HONE:617-765-3144
   COSTA M ESA, CA 92626                     MAIL: MSW EET@ IN FLEXX ION.CO M


35 CHALLENGE PRINTING COMPANY                 HALLENGE PRINTING COMPANY
      . YOUNG                                 TTN: 5. YOUNG
                                                                                          TRADE DEBT                                                              5210,841
     PO BOX 27775                             HONE: 973-471-4700
     N EWARK, NJ 07101-7775                  EMAIL: SYOUNG@CHALLENGEPRINTINGCO.COM


36 pECGX LLC                                  PECGX LLC
      ENERALCOUNSEL                           TTN:GENERAL000NSEL
                                                                                          TRADE DEBT                                                              5189,371
     385 MARSHALL AVE                         HONE: 314-654-2000
      AINT LOUIS, MO 63119-1831               AX:800-323-5039



3~ GCI HEALTH                                 CI HEALTH
   MARGARETSHUBNY                             TTN:MARGARETSHUBNY
                                                                                          TRADE DEBT                                                              $161,049
   PO BOX 101890                              HONE: 312.596.2648
    TLANTA, GA 30392                          MAIL: MARGARET.SHUBNY@GCIHEALTH.COM



38    RIALCARD INC                            RIALCARD INC
     LINDSEY DOBBINS                          TTN: LINDSEY DOBBINS
                                                                                          TRADE DEBT                                                              5151,286
     2250 PERIMETER PARK DR STE 300           HONE: 919-415-5494
     MORRISVILLE, NC 27560                    MAIL: LINDSEY.DOBBINS@TRIALCARD.COM


                                              URPLE STRATEGIES LLC
39 PURPLE STRATEGIES LLC
                                              TAN: SARAH SIMMONS
   SARAH SIMMONS
                                             PHONE: 703-548-7877                          TRADE DEBT                                                              $150,000
    15 SLATERS LN
                                              MAIL:
    LEXANDRIA, VA 22314
                                              ARAH.SIMMONS@PU RPLESTRATEGIES.COM



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Debtor       Purdue Pharma L.P.                                                                      Case number (if known)
              Name

     Name of creditor and complete             Name, telephone number, and email        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact             (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                       debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                        professional          unliquidated,   secured, fill in total claim amount and
                                                                                       services, and          or disputed     deduction for value of collateral or setoff to
                                                                                       government                             calculate unsecured claim.
                                                                                       contracts)
                                                                                                                              Total        Deduction         Unsecured
                                                                                                                              claim, if    for value of      claim
                                                                                                                              partially    collateral or
                                                                                                                              secured      setoff

                                              PC WORKFORCE SOLUTIONS LLC
40    PC WORKFORCE SOLUTIONS LlC
                                              ~N:CHERISH CHONG
     CHERISH CHONG
                                              HONE: 305.490.6535                            TRADE DEBT                                                              $148,537
     PO BOX 534305
                                              MAIL: CCHONG@WORKFORCELOGIQ.COM
      TLANTA, GA 30353


 ~ DEZENHALLRESOURCES                         EZENHALLRESOURCES
   MAYA SHACKLEY                              TiN: MAYA SHACKLEY
                                                                                            TRADE DEBT                                                              $142,835
   1130 CONNECTICUT AVENUE NW                PHONE:202-534-3170
     ASHINGTON, DC 20036-3904                EMAIL: MSHACKLEY@DEZENHALL.COM


42    SHLAND SPECIALTY INGREDIENTS GP         SHIAND SPECIALTY INGREDIENTS GP
     BR KINSEY                                TTN: BR KINSEY
                                                                                            TRADE DEBT                                                              $140,487
     8145 BLAZER DR                           HONE: 302-594-5000
     WILMINGTON, DE 19808                     MAIL: BRKINSEY@ASHLAND.COM


43 CIECURE PHARMA INC                         CIECURE PHARMA INC
     PURL                                     TTN: PURL
                                                                                            TRADE DEBT                                                              $139,364
     11 DEER PARK DR STE 120                  HONE: 908-723-1209
     MONMOUTH JUNCTION, NJ 08852             EMAIL: NOLAN.WANG@SCIECUREPHARMA.COM


44 FRONTAGE LABORATORIES INC                  RONTAGE LABORATORIES INC
     KEVIN LI DONGMEI WANG,SVP/G M,CMC        TTN: KEVIN LI DONGMEI WANG,SVP/G M,CMC
     SERVICES                                 ERVICES                                       TRADE DEBT                                                              $122,902
     700 PENNSYLVANIA DR                      HONE:484-362-0395
     EXTON, PA 19341-1129                     MAIL: KLI@FRONTAGELAB.COM

                                              OBBS CREEK HEALTHCARE LLC
 5 C0885 CREEK HEALTHCARE LLC
                                              ~N:JUN HUANGPU
    U N HUANGPU
                                              HONE: 610-513-8740                            TRADE DEBT                                                              $116,256
   200 MORGAN AVE
                                              MAIL:
   HAVERTOWN, PA 19083
                                              HUANG PU@COBBSCREEKHEALTHCARE.COM


46
     BIOECLIPSE LLC
                                              IOECLIPSE LLC
     PO BOX 512323                                                                          TRADE DEBT                                                             $113,381
                                              MAIL: MWEBSTER@THEACCESSGP.COM
     PHILADELPHIA, PA 19175



 ~    LATTAIRTECHNIQUESINC                    LATE AIR TECHNIQUESINC
      TEPHEN RADOVANOVICH                     TTN: STEPHEN RADOVANOVICH
                                                                                            TRADE DEBT                                                             $109,135
     20 SPEAR RD                              HONE: 201-825-6337
     RAMSEY, NJ 07446-1221                    MAIL: STEPHEN.RADOVANOVICH@GLATT.COM


4$ PACKAGING COORDINATORS INC                 ACKAGING COORDINATORS INC
    I M HANEY                                 TTN:JIM HANEY
                                                                                            TRADE DEBT                                                             $108,815
     545 ASSEMBLY DR                          HONE:815-484-8900
   ROCKFORD, 1161109                          MAIL:IIM.HANEY@PCISERVICES.COM


 9     LTERGON ITALIA SRL
       I NCENZO MANNA                         LTERGON ITALIA SRL
       ONA INDUSTRIALE ASI                    TTN: VINCENZO MANNA                           TRADE DEBT                                                             $107,512
     MORRA DE SANCTIS, AV 83040               MAIL: V.MANNA@ALTERGON.IT
     ITALY


5O    HATCHER COMPANY                         HATCHER COMPANY
     PATRICK SCHWARTZ                         TTN: PATRICK SCHWARTZ
                                                                                            TRADE DEBT                                                             $103,393
     1905 FORTUNE RD                          HONE:801-972-4606
      ALT LAKE CITY, UT 84127                 MAIL: PATIRCK.SCHWARTZ@TCHEM.COM




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   Debtor name       Purdue Pharma L.P.

   United States Bankruptcy Court for the    SOUTHERN DISTRICT OF NEW YORK

   Case number (if known)
                                                                                                                             ❑ Check if this is an
                                                                                                                               amended filing



  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

  An individual who is authorized to act on behalf of anon-individual debtor, such as a corporation or partnership, must sign and submit this
  form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
  amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
  and the date. Bankruptcy Rules 1008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
  1519, and 3571.



 Declaration and signature
-

          am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

         have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        ❑        Schedule A/8: Assets—Real and Personal Property (Official Form 206A/B)
        ❑        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ❑        Schedule E/F: Creditors Who Have Unsecured C/aims (Official Form 206E/F)
        ❑        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ❑        Schedule H: Codebtors (Official Form 206H)
        ❑        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ❑        Amended Schedule
        ~        Chapter 71 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ~        Other document that requires a declaration       Corporate Ownership Statement

         declare under penalty of perjury that the foregoing is true and correct.

        Executed on     September 15, 2019               X          ~~ / `~
                                                              Signature of individual signing on behalf of debtor

                                                              Jon Lowne
                                                              Printed name

                                                              A uthorized Person
                                                              Position or relationship to debtor




 Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
